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 7
 8                      IN THE UNITED STATES DISTRICT COURT

 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,    ) No. 2:03-cr-00371-MCE
                                  )
12                     Plaintiff, )
                                  ) STIPULATION AND ORDER
13                v.              ) TO VACATE JURY TRIAL DATE
                                  )
14   DELESHIA GILBERT,            )
                                  )
15                     Defendant. )
     _____________________________)
16

17         The United States of America, through its counsels of record,
18   McGregor W. Scott, United States Attorney for the Eastern District

19   of California, and William S. Wong, Assistant United States
20   Attorney, and defendant Deleshia Gilbert, through her counsel of

21   record, Kresta Daly, Esq., stipulate and agree to vacate the jury
22   trial date of September 15, 2008, and re-set the jury trial date for

23   Monday, December 8, 2008, at 9:00 a.m. and a trial confirmation
24   hearing on November 20, 2008, at 9:00 a.m.          The parties require

25   additional time to resolve pending discovery issues and to work out
26   a possible resolution to the case.

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 1   Accordingly, the parties stipulate that time be excluded pursuant to
 2   18 U.S.C. § 3161(h)(8)(B)(ii) and Local Code T4 - additional time to

 3   adequately prepare from September 15, 2008, up to and including,
 4   December 8, 2008.

 5                                               Respectfully submitted,
 6                                               McGREGOR W. SCOTT
                                                 United States Attorney
 7
 8   DATED: August 22, 2008             By: /s/ William S. Wong
                                            WILLIAM S. WONG
 9                                          Assistant U.S. Attorney
10

11   DATED: August 22, 2008            By:       /s/ Kresta Daly
                                                 KRESTA DALY, ESQ.
12                                               Attorney for Defendant

13
14                                      ORDER

15        FOR GOOD CAUSE SHOWN, the jury trial date of September 15,
16   2008, is hereby vacated and continued to December 8, 2008, at 9:00

17   a.m. in Courtroom 7.     The trial confirmation hearing date of
18   September 4, 2008, is hereby vacated and a continued to November 20,

19   2008 at 9:00 a.m. in Courtroom 7.           Furthermore, time is excluded for
20   the reasons set forth above.

21        IT IS SO ORDERED.
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     Dated: August 25, 2008
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24                                      _____________________________
                                        MORRISON C. ENGLAND, JR.
25                                      UNITED STATES DISTRICT JUDGE
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